     Case: 1:22-cv-03998 Document #: 46 Filed: 03/06/23 Page 1 of 3 PageID #:185




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DENA NATOUR FOR MINOR           )
HADI ABUATELAH ,                )
                                )
           Plaintiffs,          )                        Case No. 22-cv-03998
                                )
     v.                         )                        Hon. Steven C. Seeger
                                )
CHIEF OF POLICE OAK LAWN POLICE )
DANIEL VITTORIO, OFFICER B.     )
COLLINS, OFFICER P. O’DONNELL   )
OFFICER M. HOLLINGSWORTH and    )
THE VILLAGE OF OAK LAWN         )
                                )
           Defendants.          )

                      THE PARTIES’ JOINT AND AGREED REQUEST
                     TO THE COURT TO SET A STATUS CONFERENCE

        The parties hereby jointly request this Court to set this case for a status conference and, in

support thereof, state as follows:

        1.     This lawsuit arises from a July 27, 2022 encounter between officers from the

Village of Oak Lawn police department and Hadi Abuatelah, a minor.

        2.     On December 12, 2022, the Court entered an order regarding Defendants’ motion

to stay. (Doc. 36). The Court’s order, among other things, ordered the parties to keep the

“Court posted if there are any material developments in the investigation” and stated that the

“parties must file a status report no later than once per quarter, starting on the first Friday in

April, and continuing on the first Friday of July, and October, and so on.” Id.

        3.     The parties seek to update the Court as to developments in the investigation and

seek to discuss several issues related to discovery.
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       4.     Undersigned counsel has conferred with counsel for all parties and they have all

provided consent to file the instant filing a joint and agreed request.



By: s/Michael J. Victor

Attorney for Defendant Officer Patrick O’Donnell
OKGC, LLC
Edens Corporate Center
650 Dundee Road - Fourth Floor
Northbrook, IL 60062
847-291-0200
mvictor@okgc.com
    Case: 1:22-cv-03998 Document #: 46 Filed: 03/06/23 Page 3 of 3 PageID #:187




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OFFICER M. HOLLINGSWORTH and    )
THE VILLAGE OF OAK LAWN         )
                                )
           Defendants.          )

                                CERTIFICATE OF SERVICE

        I hereby certify that on March 6, 2023, I electronically filed the Parties Joint and Agreed
Request to the Court to Set a Status Conference with the Clerk of Court using the CM/ECF
system, which will send notification of such filing to the following registered CM/ECF
participant(s):

       Zaid Abdallah                                 Kevin M. Casey
       Abdallah Law                                  Peterson, Johnson & Murray
       zaid@abdallah-law.com                         kcasey@pjmlaw.com

       Emma Melton                                   K. Austin Zimmer
       Cair-Chicago                                  Sean M. Sullivan
       emelton@cair.com                              Del Galdo Law Group, LLC
                                                     zimmer@dlglawgroup.com
                                                     sullivan@dlglaw.group.com


                                             By:     s/Michael J. Victor
                                                     Michael J. Victor, #6297846
                                                     OKGC Law, LLC
                                                     650 Dundee Road, Suite 475
                                                     Northbrook, Illinois 60062
                                                     Phone: 847/291-0200
                                                     Fax: 847/291-9230
                                                     Email: mvictor@okgc.com
